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                   EXHIBIT A
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                               EMPLOYMENT AGREEMENT


       THIS EMPLOYMENT AGREEMENT (the "Agreement") is entered into effective June
27, 2022 (the "Effective Date"), by and between Calvin University (the "University") and Wiebe
Boer, Ph.D. ("Dr. Boer" or the "President").

                                   Background Information

        The University Board of Trustees conducted a comprehensive global search process for the
11th president in the University's history. Based on the results of this comprehensive search and
evaluation of qualified candidates, the University desires to employ Dr. Boer and Dr. Boer desires
to serve as the President. The purpose of this Agreement is to set forth the terms and conditions
for Dr. Boer's service as President of the University.

                                     Terms and Conditions

       NOW, THEREFORE, the parties, intending to be legally bound, hereby agree as follows:

1.       Employment. The University agrees to employ Wiebe Boer, Ph.D. and Dr. Boer accepts
employment as President of the University. During his term of employment (as defined in Section
I. I), the President shall perform such duties for and render such services to the University as are
customary and incidental to the position of President, or such other duties or services as may be
from time to time assigned to him by the University's Board of Trustees (the "Board") and which
are consistent with such a position. The President shall report and be accountable exclusively to
the Board. The President agrees to use his best efforts to carry out his duties and responsibilities
under this Agreement and to devote substantially all of his business time, attention, and energy
thereto.

       I. I    Term of Employment. The term of employment shall commence June 27, 2022,
and end on June 30, 2027 (the "Term"). It is the intention of the parties that the University will
conduct a comprehensive assessment of the President's performance during the 2025-2026
academic year and initiate discussions about whether the parties wish to enter an employment
agreement for the period beyond June 30, 2027.

       1.2     Compensation. For all the services rendered by the President hereunder, the
University shall pay the President as follows:

                (a)    Base Salary. The University will provide a Base Salary at the annual rate
        of $400,000, payable in installments at such times as the University customarily pays its
        other administrative faculty. The University Board of Trustees Executive Committee shall
        conduct an annual review of the President's performance based in part upon prior mutually
        agreed upon goals. The Board of Trustees Executive Compensation Committee shall
        conduct a review of the President's compensation consistent with Board Policies and the
        University's compensation philosophy. Based upon these reviews, the President may be
        awarded an increase in his Base Salary.
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